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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

  CAROL A. WILSON, Administrator, et al.          )   CASE NO. 2:16-cv-739
                                                  )
            Plaintiffs,                           )   JUDGE ALGENON L. MARBLEY
                                                  )   MAGISTRATE JUDGE JOLSON
  v.                                              )
                                                  )
  A&K ROCK DRILLING, INC.                         )
                                                  )
            Defendant.                            )
                                                  )




                     APPENDIX TO DEFENDANT’S MEMORANDUM IN SUPPORT OF
                               MOTION FOR SUMMARY JUDGMENT


       •   Affidavit of Edward J. Atherton
             Exhibit A:      Collective Bargaining Agreements
             Exhibit B:      Trust Agreements
             Exhibit C:      2004 and 2005 Audit Reviews
             Exhibit D:      E-mail exchange between Edward Atherton and Plaintiff’s in-house
                             legal counsel, Bryan Barch
             Exhibit E:      ODJFS Employer’s Reports of Wages
             Exhibit F:      2015 Audit Review
             Exhibit G:      Letter from Plaintiffs dated April 8, 2016 to A&K

       •   Plaintiffs’ Responses to Defendant A&K Rock Drilling, Inc.’s First Requests for Admission
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 186 of 294 PAGEID #: 620
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 187 of 294 PAGEID #: 621
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 188 of 294 PAGEID #: 622
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 189 of 294 PAGEID #: 623
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 190 of 294 PAGEID #: 624
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 191 of 294 PAGEID #: 625
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 192 of 294 PAGEID #: 626
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 193 of 294 PAGEID #: 627
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 194 of 294 PAGEID #: 628
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 195 of 294 PAGEID #: 629
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 196 of 294 PAGEID #: 630
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 197 of 294 PAGEID #: 631
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 198 of 294 PAGEID #: 632
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 199 of 294 PAGEID #: 633
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 200 of 294 PAGEID #: 634
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 201 of 294 PAGEID #: 635
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 202 of 294 PAGEID #: 636
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 203 of 294 PAGEID #: 637
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 204 of 294 PAGEID #: 638
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 205 of 294 PAGEID #: 639
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 206 of 294 PAGEID #: 640
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 207 of 294 PAGEID #: 641
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 208 of 294 PAGEID #: 642
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 209 of 294 PAGEID #: 643
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 210 of 294 PAGEID #: 644
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 211 of 294 PAGEID #: 645
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 212 of 294 PAGEID #: 646
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 213 of 294 PAGEID #: 647
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 214 of 294 PAGEID #: 648
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 215 of 294 PAGEID #: 649
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 216 of 294 PAGEID #: 650
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 217 of 294 PAGEID #: 651
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 218 of 294 PAGEID #: 652
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 219 of 294 PAGEID #: 653
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 220 of 294 PAGEID #: 654
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 221 of 294 PAGEID #: 655
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 222 of 294 PAGEID #: 656
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 223 of 294 PAGEID #: 657
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 224 of 294 PAGEID #: 658
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 225 of 294 PAGEID #: 659
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 226 of 294 PAGEID #: 660
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 227 of 294 PAGEID #: 661
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 228 of 294 PAGEID #: 662
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 229 of 294 PAGEID #: 663
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 230 of 294 PAGEID #: 664
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 231 of 294 PAGEID #: 665
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 232 of 294 PAGEID #: 666
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 233 of 294 PAGEID #: 667
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 234 of 294 PAGEID #: 668
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 235 of 294 PAGEID #: 669
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 236 of 294 PAGEID #: 670
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 237 of 294 PAGEID #: 671
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 238 of 294 PAGEID #: 672
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 239 of 294 PAGEID #: 673
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 240 of 294 PAGEID #: 674
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 241 of 294 PAGEID #: 675
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 242 of 294 PAGEID #: 676
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 243 of 294 PAGEID #: 677
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 244 of 294 PAGEID #: 678
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 245 of 294 PAGEID #: 679
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 246 of 294 PAGEID #: 680
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 247 of 294 PAGEID #: 681
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 248 of 294 PAGEID #: 682
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 249 of 294 PAGEID #: 683
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 250 of 294 PAGEID #: 684
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 251 of 294 PAGEID #: 685
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 252 of 294 PAGEID #: 686
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 253 of 294 PAGEID #: 687
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 254 of 294 PAGEID #: 688
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 255 of 294 PAGEID #: 689
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 256 of 294 PAGEID #: 690
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 257 of 294 PAGEID #: 691
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 258 of 294 PAGEID #: 692
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 259 of 294 PAGEID #: 693
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 260 of 294 PAGEID #: 694
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 261 of 294 PAGEID #: 695
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 262 of 294 PAGEID #: 696
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 263 of 294 PAGEID #: 697
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 264 of 294 PAGEID #: 698
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 265 of 294 PAGEID #: 699
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 266 of 294 PAGEID #: 700
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 267 of 294 PAGEID #: 701
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 268 of 294 PAGEID #: 702
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 269 of 294 PAGEID #: 703
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 270 of 294 PAGEID #: 704
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 271 of 294 PAGEID #: 705
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 272 of 294 PAGEID #: 706
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 273 of 294 PAGEID #: 707
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 274 of 294 PAGEID #: 708
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 275 of 294 PAGEID #: 709
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 276 of 294 PAGEID #: 710
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 277 of 294 PAGEID #: 711
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 278 of 294 PAGEID #: 712
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 279 of 294 PAGEID #: 713
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 280 of 294 PAGEID #: 714
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 281 of 294 PAGEID #: 715
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 282 of 294 PAGEID #: 716
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 283 of 294 PAGEID #: 717
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 284 of 294 PAGEID #: 718
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 285 of 294 PAGEID #: 719
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 286 of 294 PAGEID #: 720
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 287 of 294 PAGEID #: 721
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 288 of 294 PAGEID #: 722
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 289 of 294 PAGEID #: 723
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 290 of 294 PAGEID #: 724
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 291 of 294 PAGEID #: 725
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 292 of 294 PAGEID #: 726
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 293 of 294 PAGEID #: 727
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-2 Filed: 05/05/17 Page: 294 of 294 PAGEID #: 728
